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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:

Alan J Malatesta,                                        Case No. 6:18-bk-00409-KSJ
                                                         Chapter 7
         Debtor.
                                                 /

             U.S. BANK NATIONAL ASSOCIATION’S MOTION FOR RELIEF
                   FROM THE AUTOMATIC STAY (REAL PROPERTY)

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

                   Pursuant to Local Rule 2002-4, the Court will consider the relief
                   requested in this paper without further notice or hearing unless a
                   party in interest files a response within twenty-one (21) days from
                   the date set forth on the attached proof of service, plus an
                   additional three days for service if any party was served by U.S.
                   Mail.

                   If you object to the relief requested in this paper, you must file
                   your response with the Clerk of the Court at 400 West Washington
                   Street, Suite 5100, Orlando, Florida 32801 and serve a copy on the
                   Movant’s attorney, Leslie Rushing, Esq., Quintairos, Prieto, Wood
                   & Boyer P.A., 1475 Centrepark Blvd., Suite 130, West Palm Beach,
                   Florida 33401, and any other appropriate persons within the time
                   allowed. If you file and serve a response within the time
                   permitted, the Court will either schedule and notify you of a
                   hearing or consider the response and grant or deny the relief
                   requested without a hearing.

                   If you do not file a response within the time permitted, the
                   Court will consider that you do not oppose the relief requested in
                   the paper, will proceed to consider the paper without further
                   notice or hearing, and may grant the relief requested.


         COMES NOW, U.S. Bank National Association, not in its individual capacity, but solely

as legal title trustee for BCAT 2016-18TT (the "Movant"), by and through its attorneys, moves,

pursuant to 11 U.S.C. § 362, for relief from the automatic stay with respect to the real property
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of the Debtor having an address of 2501 MacFarland Drive, Cocoa, FL 32922 (the "Property").

In further support of this Motion, Movant respectfully states:

       1.       A petition under Chapter 13 of the United States Bankruptcy Code was filed with

                respect to the Debtor on January 25, 2018.

       2.       The debtor has the property listed as surrendered on the statement of intentions

                filed on January 25, 2018.

       3.       Upon information and belief, the Property has not been claimed exempt by the

Debtor. Upon information and belief, the Property has not been abandoned by the Trustee.

       4.       A final judgment of foreclosure has been entered with respect to the Property in

favor of Movant on November 8, 2017, in the amount of $170,373.68. A true and correct copy

of the final judgment is attached as Exhibit A.

       5.       The legal description of the Property is:

                        LOT 17, BLOCK 8, AMENDED PLAT OF CARLETON TERRACE,
                        ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT
                        BOOK 3, PAGE 61, OF THE PUBLIC RECORDS OF BREVARD
                        COUNTY, FLORIDA.

       6.       The estimated market value of the Property is $71,870.00. The basis for such

valuation is the Brevard County Property Appraiser's Office. A copy of the valuation is attached

as Exhibit B. The Movant adopts this figure for the purposes of this Motion but reserves the

right to request access to the Property for the purpose of conducting an interior appraisal to more

accurately quantify its value, in the event the value of the Property is contested.

       7.       Cause exists for relief from the automatic stay for the following reasons:

            (a) Movant's interest in the property is not adequately protected;

            (b) the property is not necessary for an effective reorganization as this is a Chapter 7
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               case and final judgment has been entered.

       WHEREFORE, Movant respectfully requests that this Court issue an Order terminating

or modifying the stay and granting the following:

       A.      In rem relief from the stay allowing Movant, its successors and assigns, to

proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and

obtain possession of the Property.

       B.      That the Order is binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       C.      That all direct communications are allowed between Movant, its successors and

assigns, and Debtor in connection with proceeding against the Property including, but not limited

to, notices required by state and federal law and communications to offer and provide

information with regard to a potential forbearance agreement, loan modification, refinance

agreement, loss mitigation agreement or other loan workout.

       D.      For such other relief as the Court deems proper;

       E.      Waiver of the 14- day stay under Fed. R. Bankr. P. 4001(a)(3).

                                             Respectfully submitted,

Dated: March 8, 2018                           /s/ Leslie Rushing
                                             Leslie Rushing, Esq.
                                             Florida Bar No. 98106
                                             Quintairos, Prieto, Wood & Boyer, P.A.
                                             1475 Centrepark Blvd., Suite 130
                                             West Palm Beach, FL 33401
                                             Telephone: (561) 686-1880 x 1311
                                             Fax: (561) 686-1886
                                             Attorney for Selene Finance LP
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                                             leslie.rushing@qpwblaw.com
                                             Secondary Email:
                                             flmdbknotices@qpwblaw.com
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                                 CERTIFICATE OF SERVICE

       I certify that I have caused to be served a copy of the foregoing Motion for Relief, by first
class mail, postage prepaid or by CM/ECF electronic filing upon the parties listed below on this
day.

Dated: March 8, 2018                         /s/ Leslie Rushing
                                             Leslie Rushing, Esq.
                                             Florida Bar No. 98106
Copies Furnished To:

By CM/ECF Receipt:

Emily Ann Ogden
Harper Ogden, LLC
260 N. Tropical Trail, #105
Merritt Island, FL 32953
Email: emilyo@harperogden.com

Trustee
Marie E. Henkel
3560 South Magnolia Avenue
Orlando, FL 32806

U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

By First Class Mail:

Alan J Malatesta
2501 MacFarland Rd
Cocoa, FL 32922
